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                                   Affidavit of Steven Raimi
   1.    Iam over the age of 18 years and if sworn as a witncss Ian competent to testify about
        the matters set forth herein based on personal knowledge except where the matter is
        indicated to be based on information and belief.

   2. Ireside at 3309 Bacon Avenue, Berkely, Michigan
   3.    lam a member of the American Civil Liberties Union.
   4. Iam a registered voter in Michigan.
   5. On November 5, 2024, Iserved as a poll watcher on behalf of the nonpartisan
        organization Election Protection.
   6. As part of my shift, Ivisited and poll-watched at four polling locations. This included
        two polling locations in Oakland County, Michigan, Derby Middle School, located at
         1300Derby Rd, Birmingham, MI 48009, and Oakland Schools Technical Campus
        Southeast, located at 5055 Delemere Ave, Royal Oak, MI 48073.
   7. At around 2:00 p.m., I arrived at Derby Middle School and saw police officers leaving
        and three men on the sidewalk, with whom the police had evidently been dealing. The
        men had cameras and were filming individuals going into and out of the polling station.
   8. One of the three men, who was tall and thin, was wearing a baseball cap that said
        something like DONT ANNOY ME, I'M AN ASSHOLE. MY RIGHTS DONT STOP
        WHERE YOUR FEELINGS START."

   9. The other two men, including one who was burly and bearded, were wearing stars-and
      stripes-themed clothing.
   10. Isaid to the three of them that they could not film people coming in and out of a polling
        location, and they responded that it was their First Amendment right to film, nobody has
        an expectation of privacy in public, and that they were thus free to record whatever they
       wanted. This response appeared to be scripted.
   11. After the three men left, I spoke with people passing out flyers near the polling station.
       These people informed me that the men had recently blocked a family from leaving the
       polling station. The family had insisted that the men not record them, and the men had
        given the family the same scripted response about their First Amendment right to record.
        The family was eventually allowed to leave, after one family member asserted I'm
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        pvteeting my family." The people further informed me that the men were going from
        precinct to precinct to film.
    12. Itook a photograph, from a distance, of one of these men, who was the last to leave
        Derby. That photograph is attached as Exhibit Ato this affidavit.
    13.I then left Derby, and I went to Oakland Schools Technical Campus Southeast.
    14. WhenIarrived, Isat in the polling station pollwatching.
    15. The last of the three men to leave Derby then arrived with three other individuals, one
        man and two women. To me, they appeared intimidating.
    16. The individuals had cameras, including ones with external grips on either side, and were
       filming the polling location.
    17. The last man to leave Derby was now wearing a stars-and-stripes gaiter that covered his
        nose andmouth.

    18.Although the precinct supervisor instructed the individuals to halt their filming, the
        individuals responded with the same scripted response about their First Amendment right
        to record.

    19. When the supervisor asked them what organization they were with, these individuals
        responded that they were "independent."
    20. Irecorded a portion of the argument between the precinct supervisor, who was visibly
        agitated, and these individuals.
    21.The last man to leave Derby recognized me from our conversation at Derby, and I
        reminded him that he should not be filming the polling location and the voters in it. He
        again responded with the scripted response about his First Amendment right to record.
    22. To remove myself from the situation, Ileft to file a report with Election Protection in my
        car. While I was in the parking lot, the police arrived.
    23. As the police walked inside the building, Istuck my head out of my car window and
       offered to give them a witness statement.
    24. Ten to fifteen minutes after the police arrived, the individuals who had been filming
        inside the polling station exited the building. As they walked past my car, Iheard one of
       them say "It's expected, but still disappointing."
    25. Ten minutes later, the police exited the building.
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    26 lthen sawthat two of the individuals who had been filming were stilloutaide the polling
         station,and they were filming the movements of the police as they departed
    27. Upon information and belief,the six individuals I interacted with at Derby Middle Schonl
        and Oakland Technical were a part of an organized effort to invite negative responses or
         anger from pollworkers and voters and to capture those responses on video.
     28. Due to time pressure, I was not able to give this statement in person and therefore was not
        able to sign a physical copy. I authorize Hassan Ahmad, an attorney who took this
        statement, to sign on my behalf.

  I. Hassan Ahmad. swear and affirm that I took this statement from Steven Raimi, read it back to
 him word for word. and he confirmed its accuracy.



                                                Hassan Ahmad




 Afirmed before me this        day of Noy.               2024 at Deoit            mL
 Notary public, State of Michigan, County of
 My commission expires on MaA 3,203L


                                      Notary Officer Administering Oath



                                                  KATHRYN HARONEY
                                            Notary Public, $tate of Michigan
                                                   County of Wayne
                                           My Commisslon Expires May 3, 2031
                                        Actlng in theCounty of   aAe
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                       IN HE UNITED STATES DISTRICTCoURT
                     EOR THE                   DISTRICT OF MICHIGAN
                                                  DIVISION




   AMERICAN CIVIL LIBERTIESUNION OF
    MICHIGAN, onbehalf of itself and its                   Civ. No.
   members.

                Plointiff.
   V.                                                      AFFIDAVIT OF
                                                           LOREN KHOGALI
   DOES 16.

                Defendants.



 Pursuant to 28 U.S.C. §1746, I hereby declare as follows:
        1.      Iam a 48-year-old person who lives in Plymouth, Michigan.             I am

competent to make this declaration.

        2.      Icurrently serve as Executive Director of the American Civil Liberties Union

of Michigan ("ACLU"). I am lawfully registered to vote in Michigan, and I have been a
member of the ACLUfor approximately 20 years.
        3.     Established in 1959, Plaintiff ACLU isa domestic, nonpartisan and nonprofit
corporation organized for the civic, protective, or improvement purpose of protecting rights
guaranteed by the United States and Michigan Constitutions. The mission of the ACLU is

to realize the promise of the Bill of Rights for all citizens and expand the reach of its
guarantees to new areas through public education, advocacy, and organization.

        4.      Today, the ACLU has 31,504 Michigan members, and provides support to
members across Michigan, including 7,263 in Oakland County, 262 in Birmingham,
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Michigan, and 91-4 in Roval Oak.

               The ACLUsecks to cnsure an casy and equal right to vote for every citizen

ad encourages its members and the people of Michigan to exercise their right to vote. The
 ACLUdedicates substantial time, effort, and resources to voter educationand the protection
of voting rights. These efforts include educating voters about state and federal laws
protecting their right to be free fromn intimidation at the polls, preventing voters from being
unlawfully challenged or otherwise prevented from voting or burdened when voting, and
providing clection inspectors with guidance regarding how to lawfully eject persons who
engage in unlawful voter intimidation from polling locations.
         6.    To further our mission to encourage informed and active participation in

govemment, we offer several critical services to Michigan voters on Election Day and in the
early voting period. Some of the key services that we offer include coordinating an extensive
multi-year project to provide support and information to election clerks throughout the state,
making educational materials available to voters, staffing a voter protection hotline,
litigation regarding a wide range of voter protection issues, and educating new and
experienced voters about their polling locations and voting requirements.
               A.      Impact of Intimidation on ACLU's Members
         1.    The ACLU has 7,263 members in Oakland County, Michigan, 262 in

Birmingham, Michigan, and 914 in Royal Oak, Michigan, all locations where voter
intimidation took place on November 5, 2024. ACLUmembers are high propensity voters,
almost all of whom are well known to vote in major elections such as the one occurring

today.
         8.    We have been informed by two different witnesses, one voter and one poll
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Momitor, that a group of approximately 6 individuals (four men and two women) has been viniting
multiple polling locations in Oakland County, in particular at least two poling stations in
Birmingham and at least one in Royal Oak, and entering buildings where polling is going on and
filming voters coming and going against their will. This conduct includes following voters to
their cars while filming them, and refusing to stop filming when asked. Voters have been

sufficiently intimidated that they have sought to escape the polling station through alternate paths.
       9.         We are informed that the individuals who engaged in this surveillance and voter

harassment were clad in assorted patriotic paraphernalia, and at least one was wearing an
American flag gaiter covering his face. None of these individuals voted at these polling stations

or indicated that they were present to vote. To the contrary, theyasserted a right to be present

filming voters.
        10.       It is not known what polling station these individuals might go to next, but ACLU

members are spread throughout Oakland County.
        11.       Defendants' intimidating conduct threatens any ACLUmembers who are planning

to vote in the relevant jurisdictions in Oakland County this evening and who may be too scared
tovote or suffer intimidation while voting.
                  B.      Impact of Intimidation on the ACLU
       12.        Voter intimidation is antithetical to the ACLU's mission to encourage informed
and active participation in government.
       13.        To respond to the voter intimidation that took place in Oakland County, the ACLU

has had to divert critical Election Day resources from encouraging Michigan residents to vote and
ensuring that they have the proper resources to do so toward protecting Oakland County residents
from voter intimidation instead. The ACLUemploysfive organizers and a field director focused
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   on voter poteetion, four attormeys who regularly work on voting rights matters, as well as
   commnicatios stall and other professionals, allof whomhave hcen focunedfor years, including
    on Election Day, on encouraging voter turnout and working with governmental officials
   throughout Michigan to ensure a smooth-running election that is free of any unnecessary harriers
   tovoting. The ACLU has expended millions of dollars on these efforts. Defendants' actions are
   actively diverting ACLUstaff resources and undermining months of effort to promote voter
   turnout.

               14.        In particular, the ACLU's Election Protection Team has diverted its resources to

   ensuring that the voter intimidation that occurred at Royal Oak and Birmingham is appropriately
   documented and resolved, rather than focusing on their primary tasks of liaising with voters, poll
   workers, election challengers, and clerks throughout the state of Michigan to ensure a smooth
   running election and staffing 866-OUR-VOTE, a non-partisan voter protection hotline. These
   resources would otherwise all be directed toward the ACLU'sElection Day initiatives that are
   designed to maximize voter participation.
               15.        Shifing our resources to address this voter intimidation requires us to reduce the
    amount of volunteers and financial resources that we could use toward our core Election Day

    services for voters.




     Ideclare under penalty of perjury that the foregoing is true and correct.


   Executed on: November 5, 2024
                                                         Loren Khogali

      GIANCARLO JGUZMAN
                                           Affirmed            before me 4nis s*                   day         Naembey
   Notary Public, State of Michigan
         County of Oakland
                                             2024 at Dteit, WAyE
   My Commission Explres Apr. 30,2030
|Acting in the County of WAyO
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                                Declaration of Nicolette Ago

   1. lamn over the age of 18 years and if sworn as a witness I am competent to testify ahout
      the matters set forth herein based on personal knowledge except where the matter is
      indicated to be based on information and belief.
   2. I reside in Royal Oak, Michigan. Ihave been residing in Royal Oak, Michigan for about
      4 years.
   3. Iam a registered voter in Michigan.
   4. On November 5, 2024, I went to vote at the Oakland Schools Technical Campus at 5055
      Delemere Avenue in Royal Oak, Michigan around 2:00pm.
   5. WhenI walked into the polling place, there were three individuals who were recording
      voters on their phones, two men and one woman. The two men wore masks that covered
      their faces from the nose down.

   6. The three individuais were spread out across the polling place filming voters as they
      marked and cast their ballots.
   7. While I was marking my ballot, Ioverheard the pollworkers asking the three individuals
      who were filming to leave. The individuals claimed that they were permitted to film
       because they were part of the media." When the pollworker asked what media
       company they worked for, the individuals said that they were independent" but were
       nonetheless permitted to film.
   8. While Iwas casting my ballot, I overheard a poll worker call the police.
   9. After I finished my ballot, I went to go put it into the voting machine. As I approached
       the machine, one of the masked men was standing 4-5 feet away from me filming mne.
   10. The pollworker told the masked man who was filming to back up, and he refused to do
      SO.

   11. Itold the masked man who was filming that he was making me uncomfortable and
      interfering with my right to privacy, and I asked him at least three times to back up. He
      refused to move.
   12. After a minute or two of being repeatedly asked to back up by the poll worker and me,
       the masked man moved back one step. The poll worker told him to step back further and
       said that I had a right to prívacy while I voted. The masked man responded, *You don't
      have a right to privacy while you're voting, I'm not moving."
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   13. Ater atbout three mimtes, I stepped away from the polling machine with the poll worker.
       l had notyet cast my ballot because I felt uncomfortable and intimidatcd doing so while|
       was being recorded.
   14. About two minutes later, the masked man who was recording me stepped out into the
       hallway. It was unclear if he moved because he was asked to do so by the police.
   15. After the masked man left the room, Iwas able to cast my ballot without being recorded
       or harassed.

    16.On my way out of the polling place, I toldapolice officer about my experience. He said
       that he would investigate.
   17. Idrove by the polling place an hour later. Police cars were still outside the building. The
       three individuals who were filming voters, including the individual who filmed me, were
        stillstanding outside of the polling place.
    18. The entire experience of votingwas extremely uncomfortable. I felt intimidated, and that
       my right to vote was being obstructed.
    19. Due to time pressure, Iwas not able to give this statement in person and therefore was not
        able to sign a physical copy. I authorize William Ossoff, an attorney who took this
       statement, to sign on my behalf.



I. William Ossoff, swear and affirm that I took this statement from Nicolette Ago, read it back to
her word for word, and she confirmed its accuracy.

                                                    /S/ William Ossoff
                                             William Ossoff
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                                    Affidavit of Lisa Feldberg

    1. lam over the age of 18ycars and if sworn as a witness Iam competent to testify ahout
       the matters set forth herein based on personal knowledge except where the matter is
       indicated to be based on information and belief.

    2. Ireside at 555 Puritan Avenue, Birmingham, Michigan.
    3. I have been residing in this address for about 13 years.
    4. Iam a registered voter in Michigan.
    5. On November 5, 2024, I went to vote at the First Presbyterian Church, 1669 West
       Maple Street in Birmingham, Michigan around 1:00pm.
    6. When Iwalked into the church there was a hallway, with a large doorway or open wall
        space which led into the polling room.
    7. There was no line to vote when I arrived.

    8. Iwas there with my 20-year-old daughter, and we went to fill out our ballots. I
        finished mine first and put the ballot in the machine.
    9. Around 1:10, six people arrived in the hallway outside the polling room. Ibelieve
        that five were white men and one was a womnan. One of the men had an American
        flag bandana wrapped around his face, sunglasses, and a baseball hat.
    10. The others did not have their faces covered.
     11.One had a short beard and a black t-shirt and hat. One wore a green t-shirt with a
        beer belly and longer grey beard. One was wearing an orange construction-style
        vest or jacket with a backwards baseball hat with a short beard.
    12. The woman was in a green t-shirt that I believe said feeling lucky."
    13. They were there with selfie sticks, sticking their phones with cameras recording
        video into the polling room, one of them came into the polling room itself while
        filming, but only by a foot or so.
    14. Theywere all lingering as a group in the broad entry frame into the polling room.
    15. They were loud and were recording around the room.
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   l6. llooked at the pollworkers and said that these folks were not allowed to be there
      recording this. Ihad worked as a poll worker four years ago, so I knew this was
       against the rules.
   17. People had to get through this group of six people gathered at the door to go vote,
       they didn't prevent people from getting in but people almost had to push past to
       get into the room.
   18. I was waiting by the door for my daughter to finish casting her ballot, at this point
       my son had arrived, so I was waiting for both him and my daughter to finish
       voting.
   19.I had just stepped out in the hallway. The man who had stepped just inside the
       polling room then followed me out into the hallway.
    20. Isaid, This is why we vote."
   21. The man then put his phone about a foot in front of my face.
   22. I told him that he did not have permission to film me and asked him tostop.
    23. He said, Your request has been denied."
    24. Imust have made a face in response, because the woman in the group said, Oh look at
       the reaction on her."

     25. I walked back into the polling room and waited for my daughter for around six minutes,
       during this time they always had at least one camera on me while I waited.
    26. Also during this time I heard other voters who came in ask why they were there.
    27. Itold the poll workers Iwas not comfortable walking to my car, they said that they had
        called the police and asked ifIwanted someone to walk me out.
     28. Isaid yes, and asked if we could go through a different door to avoid the entrance hall
       and to avoid being followed.
    29. One of the poll workers came with me through a different hallway that led to the main
       exit. My son and daughter were still in the voting room, but came out shortly after.
    30. My son and daughter came outside as Iwas walking to my car. A few people from the
        group came outside, I believe following another man.
    31. Isaw this other man recording the group, and the group then followed him to his car.
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    32. When they were outside, they were rccording not just him, but alsO me walking to my
        Car,


     33.lgot into the car with my daughter, my son had driven separately, and my daughter and I
        decided togo to the police to make sure that they know that this needs attention.
    34. We went to the police station and reported this, and they said that the group of six had not
        done anything illegal.
    35. The police said that what the group was wearing was fine and that it was a public space
        so they could record.
    36. We told them they were recording in and outside the building and the police said that
        they couldn't do anything.
     37. The police said that precincts 1, 2, and 3 had also gotten calls during the day.
    38. The police apologized, and said there wasn't much they could do, because it was free
        speech in apublic place.
     39.I did not go back to the polling place and do not know if the police ever went the polling
        place.
    40. Due to time pressure, I was not able to give this statement in person and therefore was not
        able to sign a physical copy. Iauthorize Stephanie King, an attorney who took this
        statement, to sign on my behalf.


  L,Stephanie King, swear and affirm that I took this statement from Lisa Feldberg, read it back to
 her word for word, and she confirmed its accuracy.



                                              Stephanie King

 Affirmed before me this5h day of Nov.                , 2024 at _Dett            m
 Notary public, State of Michigan, County of IaMn
 My commission expires on        05losl2031

                                   Hatunttuat
                                      Notary Offcer Administering Ohth
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                          N THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

   The American Civil Liberties Union of              )
   Michigan, on behalf of themselves and all          )
   others similarly situated,                         )   Civ. No. ___________
                                                      )
                  Plaintiffs,                         )
   vs.                                                )   PROPOSED ORDER FOR EX PARTE
                                                      )     TEMPORARY RESTRAINING
   John Does 1-6,                                     )      ORDER AND EMERGENCY
                                                      )   DECLARATORY AND INJUNCTIVE
                  Defendants.                         )             RELIEF
                                                      )
                                                      )
                                                      )
                                                      )


                                              ORDER

         Having considered Plaintiff’s motion for a temporary restraining order and emergency

declaratory and injunctive relief, the Court has determined the following:

   1. Plaintiffs have a likelihood of success on the merits.

   2. Plaintiffs and other eligible voters will suffer irreparable harm in the absence of a

         temporary restraining order.

   3. The balance of equities leans in the Plaintiffs’ favor.

   4. The public interest favors the issuance of a temporary restraining order.

   5. Plaintiffs have no adequate remedy at law.

   6. This Order was entered Ex Parte due to the fact that the hearing in this matter is

         scheduled for ______________________, 2024, and absent this Order, Plaintiffs will

         suffer irreparable harm by being deprived of their constitutional voting rights for the

         November 5, 2024 general election.
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Accordingly, the Court hereby ORDERS:

      1.     A Temporary Restraining Order is issued.

      2.     Defendant is ordered to cease the harassment or intimidation of voters at or

             outside of the polls during the November 2024 Election—including filming voters

             coming and going from the polls, coming within 100 feet of the entrance to any

             polling station or necessary points of ingress or egress from a polling station,

             following individuals to or from their cars to the polls, or any other form of

             menacing or intimation of violence while wearing a mask or otherwise.

      3.     This Order shall remain in full force and effect until this Court specifically orders

             otherwise.

      4.     Plaintiff must serve a copy of the pleadings in this case and this Order no later

             than [DATE] before [TIME] [a.m./p.m.]. Service may be provided electronically.

      5.     Defendant shall show cause before this Court on [DATE] at [TIME], why a

             preliminary or permanent injunction should not be ordered according to the terms

             and conditions of this temporary restraining order and as requested in Plaintiffs’

             Complaint.

SO ORDERED THIS 5th day of November, 2024.



                                                 _____________________________
                                                 Hon. [NAME OF JUDGE]
                                                 United States District Judge
